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Case: 5:07-cr-00524-BYP Doc #: 1

January 2, 2008

The Honorable Kathleen McDonald O'Malley
Carl B. Stokes United States Courthouse

801 West Superior Avenue

Cleveland, OH 44113-1840

Dear Judge O’Malley:

My name is Walter Pechenuk, and I am a lecturer in the Department of
Computer Science at Kent State University. | am a former instructor of Mr. EVAN STERN,
who has asked me to provide you with this character reference.

Thave known Evan for over three years. Evan was a student in my Social and
Ethical Issues in Computing class in the fall semester of 2004, and during the same term
he was also one of the founders of and an officer in the Kent State Student Chapter of the
International Game Developers Association. When I had Evan in my class he always
performed well and wrote outstanding and well-argued essays that discussed his
commitment to excellence in his chosen field of endeavor. Evan never hesitated
to participate in class activities and discussions, and to the best of my knowledge, he never
missed class. When I recall Evan’s work I also remember that when he commits himself to
a project or a program, he carries it fo completion. This is what he did with the International
Game Developers Association. His organizational skills and devotion to the chapter helped
many students become involved in visual-and-graphic design projects and careers — this is
the path that Evan’s.own career has also taken. When I think of Evan, this is what comes to
my mind first and foremost — his dedication to helping his fellow students and workers, and
Iam sure that when Evan’s life is evaluated with regard to all the acts that he has taken,
events such as this will always outweigh any thoughtless activities that he committed as a
young adult. What Evan did by downloading legally and morally unacceptable images of
reprehensible acts committed on children and adolescents was wrong, and he acknowledges
this. From my understanding, despite this heinous activity, he did not participate in the sale
of any of these images and did not play a part in the distribution of them outside
communication channels connected to the server that hosted these images.

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I believe that Evan has learned his lesson and has personally taken steps to resolve
any problems that may have led to the activity in question by seeking professional help. In
fact, as early as November 2005 Evan asked me freely to discuss this matter with my
students so they understand what may happen and what adverse consequences may arise
from actions such as his; he has also given me permission to bring up this matter at an
international conference on cyberspace issues that I plan to attend in March.

I hope that this matter can be resolved in Evan’s favor in order for him to go on with
his life and career, as well as to serve to others as an example of what can take place when
carrying out wrongful acts — particularly the unbearable mental stress and trauma that foliow
after being discovered of illegal behavior.

Yours sincerely,

Walter Pechenuk

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